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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,                )
 8                                              )     No. CR-09-015-EFS-10
                         Plaintiff,             )
 9                                              )     ORDER GRANTING UNOPPOSED
       v.                                       )     MOTION TO MODIFY CURFEW
10                                              )
       RANDY M. LEONG,                          )
11                                              )
                         Defendant.             )
12                                              )

13
14          The Defendant, Randy Leong, having brought an unopposed Motion

15    to remove his curfew in order to facilitate his employment:

16          IT IS ORDERED that the Defendant’s release conditions are

17    modified in that his curfew requirement is removed.

18          DATED June 22, 2009.

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20                                 S/ JAMES P. HUTTON
                              UNITED STATES MAGISTRATE JUDGE
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      ORDER GRANTING UNOPPOSED MOTION TO MODIFY CURFEW - 1
